        Case 4:21-cv-00407-MCC Document 13 Filed 09/07/21 Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


ROBERT KLINE,                                :      Civil No. 4:21-CV-407
                                             :
      Plaintiffs                             :
                                             :
v.                                           :      (Magistrate Judge Carlson)
                                             :
MY DOCTORS LIVE, LLC., et al.,               :
                                             :
      Defendants                             :

                                    ORDER

      AND NOW, this 7th day of September 2021, it having been reported to the

Court that this case has been amicably resolved by the parties, IT IS HEREBY

ORDERED that the clerk is directed to CLOSE this case administratively, and the

parties are directed to file a stipulation of dismissal pursuant to Rule 41 of the

Federal Rules of Civil Procedure within 60 days upon consummation of this

settlement.1 If the parties are unable to consummate their settlement they shall


1
  Rule 41 contemplates three methods of dismissal. Before an answer or summary
judgment motion has been filed, an action can be dismissed by a notice of
dismissal signed by the plaintiff alone. See FED. R. CIV. P. 41(a)(1)(A)(i). After
an answer or motion for summary judgment has been filed, the parties can dismiss
a case by filing a stipulation of dismissal signed by all parties to have appeared.
See FED. R. CIV. P. 41(a)(1)(A)(ii). Either of these filings operates to close the
case and end the court’s jurisdiction without further court action. For any dismissal
that is conditional or otherwise requires court approval, including, for example, a
request that the court retain jurisdiction for a specific period of time for
enforcement of the settlement, the plaintiff shall submit a motion to dismiss setting
        Case 4:21-cv-00407-MCC Document 13 Filed 09/07/21 Page 2 of 2




notify the Court within 60 days, so this matter may be reinstated on the court’s

active docket.



                                    /s/ Martin C. Carlson
                                    Martin C. Carlson
                                    United States Magistrate Judge




forth the requested terms for dismissal, accompanied by a proposed order. See
FED. R. CIV. P. 41(a)(2).
